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UNITED STATES DISTRICT COURT
_ DISTRICT OF CONNECTICUT

 

SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
No.lS-CV~01135 (SRU)
v.

ROBERT O. CARR AND KATHERINE M.
HANRATTY,

Defendants.

 

 

CONSENT OF DEFENDANT KATHERINE M. HANRATTY

l. Defendant Katherine M. Hanratty ("Defendant") acknowledges having been
served with the complaint in this action, enters a general appearance, and admits the Court’s
jurisdiction over Defendant and over the subject matter of this action,

2. Without admitting or denying the allegations of the complaint (except as provided
herein in paragraph 11 and except as to personal and subject matter jurisdiction, which
Defendant admits), Defendant hereby consents to the entry of the final Judgrnent in the form
attached hereto (the "Final Judgrnent") and incorporated by reference herein, which, among other
things:

(a) permanently restrains and enjoins Defendant from violation of Section
lO(b) of the Securities Exchange Act of 1934 (“Exchange Act”) Section
lO(b) [15 U.S.C. 78(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-
5];

(b) orders Defendant to pay disgorgement in the amount of $250,628, plus

prejudgment interest thereon in the amount of $27,35 1 .82; and

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(c) orders Defendant to pay a civil penalty in the amount of $250,628 under
Section 21A of the Exchange Act [15 U.S.C. § 78t-1].

3. Defendant agrees that she shall not seek or accept, directly or indirectly,
reimbursement or indemnification from any source, including but not limited to payment made
pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays
pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof
are added to a distribution fund or otherwise used for the benefit of investors. Defendant further
agrees that she shall not claim, assert, or apply for a tax deduction or tax credit with regard to
any federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final
Judgment, regardless of whether such penalty amounts or any part thereof are added to a
distribution hind or otherwise used for the benefit of investors.

4. Defendant waives the entry of findings of fact and conclusions of law pursuant to

Rule 52 of the F ederal Rules of Civil Procedure.

5. Defendant waives the right, if any, to a jury trial and to appeal from the entry of
the Final Judgment.
6. Defendant enters into this Consent voluntarily and represents that no threats,

offers, promises, or inducements of any kind have been made by the Commission or any
member, officer, employee, agent, or representative of the Commission to induce Defendant to
enter into this Consent.

7. Defendant agrees that this Consent shall be incorporated into the Final Judgment
with the same force and effect as if fully set forth therein.

8. Defendant will not oppose the enforcement of the Final Judgment on the ground,

if any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

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hereby waives any objection based thereon.

9. Defendant waives service of the Final Judgment and agrees that entry of the Final
Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant
of its terms and conditions Defendant further agrees to provide counsel for the Commission,
within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit
or declaration stating that Defendant has received and read a copy of the Final Judgment.

10. Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted
against Defendant in this civil proceeding Defendant acknowledges that no promise or
representation has been made by the Commission or any member, officer, employee, agent, or
representative of the Commission with regard to any criminal liability that may have arisen or
may arise from the facts underlying this action or immunity from any such criminal liability.
Defendant waives any claim of Double Jeopardy based upon the settlement of` this proceeding,
including the imposition of any remedy or civil penalty herein. Defendant further acknowledges
that the Court's entry of a permanent injunction may have collateral consequences under federal
or state law and the rules and regulations of self-regulatory organizations, licensing boards, and
other regulatory organizations Such collateral consequences include, but are not limited to, a
statutory disqualification with respect to membership or participation in, or association with a
member of, a self-regulatory organization This statutory disqualification has consequences that
are separate from any sanction imposed in an administrative proceeding ln addition, in any
disciplinary proceeding before the Commission based on the entry of the injunction in this
action, Defendant understands that she shall not be permitted to contest the factual allegations of
the complaint in this action.

11. Defendant understands and agrees to comply with the terms of 17 C.F.R.

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§ 202.5(e), Which provides in part that it is the Commission‘s policy "not to permit a defendant or
respondent to consent to a judgment or order that imposes a sanction while denying the
allegations in the complaint or order for proceedings," and "a refusal to admit the allegations is
equivalent to a denial, unless the defendant or respondent states that he neither admits nor denies
the allegations." As part of Defendant’s agreement to comply with the terms of Section 202.5(6),
Defendant: (i) will not take any action or make or permit to be made any public statement
denying, directly or indirectly, any allegation in the complaint or creating the impression that the
complaint is without factual basis; (ii) will not make or permit to be made any public statement
to the effect that Defendant does not admit the allegations of the complaint, or that this Consent
contains no admission of the allegations, Without also stating that Defendant does not deny the
allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any papers filed in
this action to the extent that they deny any allegation in the complaint; and (iv) stipulates solely
for purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code, ll
U.S.C. §523, that the allegations in the complaint are true, and further, that any debt for
disgorgement, prejudgment interest, civil penalty or other amounts due by Defendant under the
Final Judgment or any other judgment, order, consent order, decree or settlement agreement
entered in connection with this proceeding, is a debt for the violation by Defendant of the federal
securities laws or any regulation or order issued under such laws, as set forth in Section
523(a)(l9) of the Bankruptcy Code, l 1 U.S.C. §523(a)(19). If Defendant breaches this
agreement, the Commission may petition the Court to vacate the Final Judgment and restore this
action to its active docket. Nothing in this paragraph affects Defendant’s: (i) testimonial
obligations; or (ii) right to take legal or factual positions in litigation or other legal proceedings

in which the Commission is not a party.

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12. Defendant hereby waives any rights under the Equal Acccss to Justice Aet. the
Small Business Regulatory Enforcement Fairncss Act of 1996. or any other provision of law to
seek from the United States, or any ageney, or any official ofthe United States acting in his or
her official capacity, directly or indirectly. reimbursement of attorney`s fees or other fecs,
expenses, or costs expended by Defendant to defend against this action. For these purposes
Defendant agrees that Defendant is not the prevailing party in this action since the parties have
reached a good faith settlement

14. Defendant agrees that the Commission may present the Final Judgment to the
Court for signature and entry without further notiee.

15. Defendant agrees that this Court shall retain jurisdiction over this matter for the

purpose of enforcing the terms of the Final Judgment.

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On Oei~ob< ~» l , 2018, ihs/kevin a M- H@h ra+fv;. a person known to me.
personally appeared before me and acknowledged executing the foregoing Consent.

 

 
     

Notaryz NOTAR‘Y PU;-;§;K
Cornrnission cxpircs: m GOMM|SSION EmeES Apn, 3), 2023

 

Notary Publie
Commission expires:

Approved as to form:

 

Bames & Thomburg

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